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                       IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE DISTRICT OF DELAWARE

                                                        )
                                                               Chapter 11
In re:                                                  )
                                                        )
                                                               Case No. 23-10758 (KBO)
LUCKY BUCKS, LLC, et al.,                               )
                                                        )
                                                               (Jointly Administered)
Debtors.1                                               )
                                                        )
                                                               Re: Docket Nos. 146, 183, 187, 214
                                                        )

             NOTICE OF OCCURRENCE OF EFFECTIVE DATE OF THE
         FIRST AMENDED JOINT CHAPTER 11 PLAN OF LUCKY BUCKS, LLC
                      AND LUCKY BUCKS HOLDCO, LLC

       PLEASE TAKE NOTICE that, on July 28, 2023, the Honorable Karen B. Owens, United
States Bankruptcy Judge for the District of Delaware (the “Bankruptcy Court”), entered the
Findings of Fact, Conclusions of Law, and Order Confirming the OpCo Debtors’ Joint Chapter
11 Plan and Approving the Disclosure Statement as it Relates Thereto for Case Nos. 23-10757
and 23-10758 [Docket No. 214] (the “Confirmation Order”) confirming the OpCo Debtors’ First
Amended Joint Chapter 11 Plan of Lucky Bucks, LLC and Lucky Bucks HoldCo, LLC, dated as of
July 22, 2023 [Docket No. 187] (as supplemented, the “OpCo Plan”).2

        PLEASE TAKE FURTHER NOTICE that, on October 2, 2023, all conditions precedent
to consummation of the OpCo Plan were satisfied or waived in accordance with Article IX.B of
the OpCo Plan. Further, no stay of the Confirmation Order is in effect. Accordingly, October 2,
2023 is the Effective Date of the OpCo Plan (the “Effective Date”). As of the Effective Date, the
injunction set forth in Article VIII.A.5 of the OpCo Plan is now in place.

         PLEASE TAKE FURTHER NOTICE that, in accordance with Article V.A.2 of the
OpCo Plan, on the Effective Date, except as otherwise provided in the OpCo Plan, all Executory
Contracts or Unexpired Leases not otherwise assumed or rejected were deemed rejected unless
such Executory Contract or Unexpired Lease: (1) was previously assumed by an OpCo Debtor;
(2) expired or was terminated pursuant to its own terms or by agreement of the parties thereto;
(3) is the subject of a motion to assume filed by the OpCo Debtors on or before the date of entry
of the Confirmation Order; or (4) is listed on the Assumed Executory Contracts and Unexpired
Leases List; provided, that that rejections of Unexpired Leases of non-residential real property
shall be effective as of the later of (a) the Effective Date and (b) the date on which the leased
premises are unconditionally surrendered to the landlord under such rejected Unexpired Lease.

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    The Debtors in these chapter 11 cases (the “Chapter 11 Cases”), along with the last four digits of each Debtor’s
    federal identification number, include: (i) Lucky Bucks, LLC (“Lucky Bucks”) (4376); (ii) Lucky Bucks HoldCo,
    LLC (“HoldCo” and, together with Lucky Bucks, the “OpCo Debtors”) (0081); and (iii) Lucky Bucks Holdings
    LLC (“Holdings”) (3221). The Debtors’ primary mailing address is 5820 Live Oak Parkway, Suite 300, Norcross,
    Georgia 30093.
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    Terms not otherwise defined herein shall have the meanings ascribed to them in the OpCo Plan.
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Proofs of Claim with respect to Claims arising from the rejection of Executory Contracts or
Unexpired Leases pursuant to the OpCo Plan, if any, must be Filed with the Bankruptcy Court no
later than November 2, 2023. Any Claims arising from the rejection of an Executory Contract or
Unexpired Lease not Filed with the Bankruptcy Court within such time shall be automatically
Disallowed, released, and discharged, and forever barred from assertion without the need for any
objection or further notice to, or action, order, or approval of, the Bankruptcy Court or any other
Person, any such Claim shall be released, and discharged, notwithstanding anything in the
Schedules or any Proof of Claim to the contrary, and such Claim shall not be enforceable against
the OpCo Debtors, the Reorganized OpCo Debtors, or their respective property.

        PLEASE TAKE FURTHER NOTICE that the OpCo Plan and the provisions thereof
(including the exhibits and schedules thereto and all documents and agreements executed pursuant
thereto or in connection therewith), the Plan Supplement, and the Confirmation Order are effective
and enforceable and shall bind the Reorganized OpCo Debtors, the Released Parties, the
Exculpated Parties, all holders of Claims and Interests (irrespective of whether such Claims or
Interests are impaired under the OpCo Plan or whether the holders of such Claims or Interests
accepted or are deemed to have accepted the OpCo Plan), any other person giving, acquiring, or
receiving property under the OpCo Plan, any and all non-OpCo Debtor parties to executory
contracts and unexpired leases with any of the OpCo Debtors, any other party in interest in the
OpCo Debtors’ Chapter 11 Cases, and the respective heirs, executors, administrators, successors,
or assigns, if any, of any of the foregoing. All settlements, compromises, releases (including,
without limitation, the releases set forth in Article VIII.A of the OpCo Plan), waivers, discharges,
exculpations, and injunctions set forth in the OpCo Plan are effective and binding on any Person
or entity that may have had standing to assert any settled, compromised, released, waived,
discharged, exculpated, or enjoined Causes of Action.

        PLEASE TAKE FURTHER NOTICE that requests for payment of Administrative
Expense Claims in the OpCo Debtors’ Chapter 11 Cases must be filed no later than November 2,
2023 (the “Administrative Expense Bar Date”) with the Bankruptcy Court and served on the
Reorganized OpCo Debtors, the United States Trustee, and Epiq in its capacity as the OpCo
Debtors’ Claims, Noticing and Solicitation Agent. Holders of Administrative Expense Claims in
the OpCo Debtors’ Chapter 11 Cases that are required to file and serve a request for payment of
such Administrative Expense Claims that do not file and serve such a request by the Administrative
Expense Bar Date shall be forever barred, estopped, and enjoined from asserting such
Administrative Expense Claims against the OpCo Debtors, the Reorganized OpCo Debtors, or
their respective property and such Administrative Expense Claims shall be forever barred and
disallowed as of the Effective Date.

       PLEASE TAKE FURTHER NOTICE that, pursuant to Article II.B of the OpCo Plan,
the deadline to file OpCo Professional Fee Claims is November 17, 2023.

        PLEASE TAKE FURTHER NOTICE that copies of the OpCo Plan and the Disclosure
Statement may be obtained free of charge by visiting the website maintained by Epiq Corporate
Restructuring LLC at https://dm.epiq11.com/luckybucks. Parties may also obtain any documents
filed in the Chapter 11 Cases for a fee via PACER at https://www.pacer.gov/. Please note that a
PACER password and login are required to access documents via PACER.




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Dated: October 3, 2023              /s/ Matthew P. Milana
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                                    - and -

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                                    Co-Counsel to the Debtors
                                    and Debtors in Possession




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